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 9                                IN THE UNITED STATES DISTRICT COURT

10                                      EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                           CASE NO. 2:08-CR-093-KJM
12
                                 Plaintiff,              ORDER REGARDING TRIAL DATE AND OTHER
13                                                       HEARINGS AS TO JOSHUA COFFMAN, DOMONIC
                           v.                            MCCARNS, AND AHN NGUYEN
14
     JOSHUA COFFMAN,
15   DOMONIC MCCARNS,
     AHN NGUYEN,
16
                                 Defendants.
17
     UNITED STATES OF AMERICA,                           CASE NO. 2:08-CR-116-KJM
18
                                 Plaintiff,              ORDER RESETTING TRIAL DATE AND FINDING
19                                                       EXCLUDABLE TIME AS TO DEFENDANTS
                           v.                            CHARLES HEAD, BENJAMIN BUDOFF, AND
20                                                       DOMONIC MCCARNS
     CHARLES HEAD,
21   BENJAMIN BUDOFF,
     DOMONIC MCCARNS,
22
                                 Defendants.
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25          These matters came before the Court for a status conference on August 14, 2013 at 10:15 a.m. The

26   United States was represented in both cases by Assistant United States Attorneys Michael D. Anderson and

27   Matthew G. Morris. Attorney Scott Tedmon appeared for Charles Head who was personally present in Case

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 1   No. 08-116. Attorney Tedmon also appeared for John Balazs on behalf of Joshua Coffman whose personal

 2   appearance was waived by an order signed by the Court in Case No. 08-093. Attorney Jay Greiner appeared

 3   on behalf of Domonic McCarns in both cases. Attorney Michael Long appeared on behalf of Ahn Nguyen

 4   whose personal appearance was waived by an order signed by the Court in Case No. 08-093. Attorney

 5   Dwight Samuel appeared on behalf of Benjamin Budoff whose personal appearance was waived by an order

 6   signed by the Court in Case No. 08-116.

 7           At the request of all counsel in Case No. 08-093, the Court left in place the currently scheduled

 8   motion hearing as to Ahn Nguyen, and the trial confirmation hearing and trial date for Joshua Coffman,

 9   Domonic McCarns, and Ahn Nguyen. Counsel agreed to confer to see if a stipulation could be reached

10   regarding the pending motion to continue, severance and continuance of trial for defendant Ahn Nguyen.

11           In Case No. 08-116, defendant Charles Head moved through counsel to continue the previously

12   scheduled trial date of September 9, 2013 in order to allow sufficient time for counsel to prepare for trial,

13   including time to interview a large number of witnesses and review discovery specific to the defense of Case

14   No. 08-116. Counsel represented to the court that he could be ready for trial on October 21, 2013 but no

15   earlier, and that the continuance was necessary in order to effectively represent his client. Defendants

16   Budoff and McCarns indicated through counsel that they did not oppose this request and that it would be

17   reasonable to continue the trial date for all three defendants. Counsel for the government objected to the

18   requested continuance and, in the alternative, requested that it be the shortest possible continuance necessary

19   for defense counsel to adequately prepare for trial. The Court ordered the trial continued to October 21, 2013

20   in order to allow reasonable time for defense counsel to prepare for trial. It further ordered that a Trial

21   Confirmation Hearing be scheduled for September 25, 2013 and that the status conference currently

22   scheduled for September 4, 2013 remain on calendar.

23                   IT IS HEREBY ORDERED THAT IN CASE NO. 2:08-cr-093-KJM:

24                   1.      The following hearing has been set as to defendant Ahn Nguyen:

25                           a. Status Conference: November 13, 2013 at 9:00 a.m.

26                   2.      That the currently scheduled hearings remain set as follows as to defendants Joshua

27                           Coffman and Domonic McCarns:

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                                                             2
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 1                        a. Trial Confirmation Hearing: September 25, 2013 at 9:00 a.m.

 2                        b. Jury Trial: November 4, 2013 at 9:00 a.m.

 3                 3.     Based on the parties’ representations, the court has previously found that time should

 4                        be excluded under the Speedy Trial Act through November 4, 2013, under local

 5                        codes T-2 and T-4, 18 U.S.C. § 3161(h)(7)(A) and (B)(ii) and (iv). [See 4/3/2013

 6                        minutes at ECF 663.]

 7                 IT IS FURTHER ORDERED THAT IN CASE NO. 2:08-cr-116-KJM:

 8                 1.     That the currently scheduled trial date of September 9, 2013, is vacated and reset for

 9                        October 21, 2013 at 9:00 a.m. for defendants Charles Head, Benjamin Budoff, and

10                        Domonic McCarns. Trial confirmation is set for September 25, 2013 at 9:00 a.m. and

11                        status conference is set for September 4, 2013 at 9:00 a.m.

12                 2.     Based on counsel and the parties’ representations, the court finds that this

13                        continuance is necessary to allow defense counsel sufficient time to prepare in this

14                        complex case and that the ends of justice in granting this continuance outweigh the

15                        best interest of the public and defendants in a speedy trial. Accordingly, time under

16                        the Speedy Trial Act shall be excluded through October 21, 2013 under local codes

17                        T-2 and T-4, 18 U.S.C. § 3161(h)(7)(A) and (B)(ii) and (iv).

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19          IT IS SO ORDERED

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     Dated: August 21, 2013
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                                                                  UNITED STATES DISTRICT JUDGE
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